                  IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2022-NCCOA-52

                                       No. COA 21-77

                                    Filed 1 February 2022

     Wake County, No. 19 CVS 11321

     KELLY ALEXANDER, Jr., DONALD R. CURETON, Jr., ALICIA D. BROOKS,
     KIMBERLY Y. BEST, LAURENE L. CALLENDER, and LATRICIA H. WARD,
     Plaintiffs,

                 v.

     NORTH CAROLINA STATE BOARD OF ELECTIONS, STELLA ANDERSON, JEFF
     CARMON III, STACY EGGERS IV, WYATT T. TUCKER, Sr., DAMON CIRCOSTA,
     KAREN BRINSON BELL, PHILLIP E. BERGER, and TIMOTHY K. MOORE (all in
     official capacities only), Defendants.


           Appeals by plaintiffs from order entered 25 September 2020 and by defendants

     from order entered 23 November 2020 by Judges Wayland J. Sermons, Jr., Lora C.

     Cubbage, and R. Gregory Horne in Wake County Superior Court. Heard in the Court

     of Appeals 3 November 2021.


           Higgins Benjamin, PLLC, by Robert Neal Hunter, Jr., for Plaintiffs.

           Attorney General Joshua H. Stein, by Special Deputy Attorney General Paul M.
           Cox, for State Board Defendants.

           Ogletree Deakins Nash Smoak &amp; Stewart P.C., by Thomas A. Farr, for
           Legislative Defendants.


           CARPENTER, Judge.


¶1         Kelly Alexander, et al., (“Plaintiffs”) appeal pursuant to N.C. Gen. Stat. § 7A-
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     27 from an order of a three-judge panel in Wake County Superior Court dismissing

     Plaintiffs’ claims as moot. On appeal, Plaintiffs argue their claims are not moot or,

     in the alternative, that their claims fall into the public interest and “capable of

     repetition, yet evading review” exceptions to mootness. The North Carolina State

     Board of Elections, et al., (“Defendants”) appeal pursuant to N.C. Gen. Stat. § 7A-

     27(b)(3)(c) (2019) from an order granting Plaintiffs attorney’s fees.      On appeal,

     Defendants argue the three-judge panel did not have jurisdiction to grant the award

     or, in the alternative, that Plaintiffs do not qualify as a prevailing party under 42

     U.S.C. § 1988. After careful review, we affirm the three-judge panel’s dismissal of

     Plaintiffs’ claims as moot and hold the claims do not meet any exceptions to the

     mootness doctrine. We agree with Defendants’ contention the three-judge panel

     lacked jurisdiction to grant Plaintiffs’ request for attorney’s fees, and we vacate and

     remand this order.

                          I. Factual and Procedural Background

¶2         In 2018, the North Carolina General Assembly enacted a law that converted

     district court judicial elections in Mecklenburg County from countywide to district-

     based elections. See S.L. 2018-14 § 2(a). The law divided Mecklenburg County into

     eight districts, and the county’s twenty-one district court seats were allocated

     amongst these eight electoral districts. Id. Previously, all twenty-one seats were

     filled through a single countywide election. The law also divided Wake County into
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     districts for district court judicial elections; however, no challenge was raised to that

     portion of the law.

¶3          Plaintiffs, at time of filing, were: two district court judges, a former district

     court judge, a member of the General Assembly, and two voters. All Plaintiffs resided

     in Mecklenburg County. The complaint named as defendants the Governor of North

     Carolina (“Governor”), the North Carolina State Board of Elections and its appointed

     members, the Speaker of the North Carolina House of Representatives, and the

     President Pro Tempore of the North Carolina Senate (collectively, “Defendants”). The

     Governor and Defendants moved to dismiss the claims against them. The trial court

     granted the Governor’s motion to dismiss and denied Defendants’ motions in an order

     entered on 18 November 2019. The trial court’s order also transferred the case to a

     three-judge panel in Wake County Superior Court pursuant to N.C. Gen. Stat. § 1-

     267.1 and Rule 42(b)(4) of the North Carolina Rules of Civil Procedure.1

¶4          On 20 November 2019, Plaintiffs moved for a temporary restraining order

     seeking to enjoin operation of S.L. 2018-14 § 2(a) during candidate filing, set to begin

     on 2 December 2019, in anticipation of the 2020 general election. The three-judge

     panel held a hearing on Plaintiffs’ motion on 22 November 2019. Following the



            1 When a trial court transfers a facial challenge raised as to the validity of a statute

     to a three-judge panel sitting in Wake County Superior Court, the trial court retains
     jurisdiction of all other collateral matters pending resolution of the facial challenge. See N.C.
     R. Civ. P. 42(b)(4) (2019).
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     hearing, the parties entered an agreement to temporarily suspend the operation of

     the law during the 2020 general election cycle, and the three-judge panel entered a

     consent order formalizing the agreement on 27 November 2019.

¶5         On 1 July 2020, the General Assembly repealed the challenged law. See S.L.

     2020-84, § 2. In response, on 13 July 2020, the three-judge panel ordered the parties

     to submit briefs detailing what issues, if any, remained in the matter. On 11 August

     2020, Plaintiffs moved for summary judgment, seeking a declaratory judgment

     stating the repealed law had been unlawful. On 21 August 2020, Plaintiffs moved to

     tax costs and fees against Defendants. Defendants submitted briefs arguing

     Plaintiffs’ claims were moot. On 25 September 2020, the three-judge panel entered

     an order denying the motion for declaratory judgment and dismissing Plaintiffs’

     claims as moot but reserving the issue of attorney’s fees. Plaintiffs filed written notice

     of appeal on 23 October 2020. On 23 November 2020, the three-judge panel entered

     an order granting Plaintiffs’ motion for attorney’s fees and costs in the amount of

     $165,114.44. Defendants filed notice of appeal.

                                         II. Jurisdiction

¶6         Plaintiffs appeal from a final order dismissing their claims as moot pursuant

     to N.C. Gen. Stat. § 7A-27 (2019).       Defendants appeal from an order awarding

     attorney’s fees, pursuant to N.C. Gen. Stat. § 7A-27(b)(1) (2019) or, in the alternative,

     N.C. Gen. Stat. § 7A-27(b)(3)(c).
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¶7         Plaintiffs argue the three-judge panel’s order awarding attorney’s fees is

     interlocutory and does not affect a substantial right, thereby rendering Defendants’

     appeal improper. Defendants argue the order granting attorney’s fees is final, as it

     resolved the only outstanding matter left in the case or, alternatively, if held to be

     interlocutory, the order affects a substantial right. We disagree with Plaintiffs and

     find the order is not interlocutory having resolved the issue of attorney’s fees, the sole

     remaining issue between the parties. We therefore deny Plaintiffs’ motion to dismiss

     Defendants’ cross appeal.

¶8         An order is interlocutory if it does not determine the issues but directs some

     further proceeding preliminary to a final decree. Waters v. Qualified Pers., Inc., 294

     N.C. 200, 207, 240 S.E.2d 338, 343 (1978). Moreover, “an order that completely

     decides the merits of an action constitutes a final judgment for purposes of appeal

     even when the trial court reserves for later determination collateral issues such as

     attorney’s fees and costs.” In re Cranor, 247 N.C. App. 565, 568-69, 786 S.E.2d 379,

     382 (2016) (quoting Duncan v. Duncan, 366 N.C. 544, 546, 742 S.E.2d 799, 801
     (2013)).

¶9         The three-judge panel’s 25 September 2020 order reserved the issue of

     attorney’s fees and determined all other matters were moot. By making a final

     determination on the merits of the case on 25 September 2020, the three-judge panel

     entered a final judgment. See In re Cranor, 247 N.C. App. at 568-69, 786 S.E.2d at
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       382. Reserving a collateral issue, such as attorney’s fees, for a later determination

       does not affect the finality of the judgment on the merits. See id. at 568-69, 786 S.E.2d

       at 382. The issue of attorney’s fees was the only issue outstanding after the 25

       September 2020 order was entered.        The three-judge panel’s grant of Plaintiffs’

       motion for attorney’s fees was not an interlocutory order, as no issue was left to be

       determined by further proceedings. See Waters, 294 N.C. at 207, 240 S.E.2d at 343.

       As the sole remaining issue, the panel’s determination on attorney’s fees left nothing

       else to be determined. As such, the order is not interlocutory, and is therefore

       appealable as a final order pursuant to N.C. Gen. Stat. § 7A-27.

                                             III. Issues

¶ 10         The issues on appeal are whether the three-judge panel erred by: (1) dismissing

       Plaintiffs’ claims as moot, and (2) awarding Plaintiffs attorney’s fees.

                                     IV. Standard of Review

¶ 11         The issue of whether a trial court properly dismissed a case as moot is reviewed

       de novo. Cumberland Cnty. Hosp. Sys., Inc. v. N.C. Dep’t of Health &amp; Human Servs.,

       242 N.C. App. 524, 528, 776 S.E.2d 329, 332 (2015). “Under a de novo review, the

       court considers the matter anew and freely substitutes its own judgment for that of

       the lower tribunal.” State v. Williams, 362 N.C. 628, 632-33, 669 S.E.2d 290, 294
       (2008) (internal quotation marks and citation omitted). Likewise, we review the

       award of attorney’s fees de novo. Free Spirit Aviation, Inc. v. Rutherford Airport
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       Auth., 206 N.C. App. 192, 201, 696 S.E.2d 559, 566 (2010).

                                           V. Analysis

                                           A. Mootness

¶ 12         Plaintiffs argue the three-judge panel erred by dismissing their claims, as the

       claims were not moot or were within an exception to the mootness doctrine. For the

       following reasons, we disagree with Plaintiffs’ contention their claims were not moot

       or were excepted from the bar of the mootness doctrine.

¶ 13         “That a court will not decide a ‘moot’ case is recognized in virtually every

       American jurisdiction.” In re Peoples, 296 N.C. 109, 147, 250 S.E.2d 890, 912 (1978).

                    Whenever, during the course of litigation . . . the relief
                    sought has been granted or . . . questions originally in
                    controversy between the parties are no longer at issue, the
                    case should be dismissed, for courts will not entertain or
                    proceed with a cause merely to determine abstract
                    propositions of law.

       Id. at 147, 250 S.E.2d at 912.

¶ 14         Under North Carolina law, mootness is not a matter of jurisdiction, but is

       instead a “prudential limitation on judicial power.” Comm. to Elect Dan Forest v.

       Emps. Pol. Action Comm., 376 N.C. 558, 2021-NCSC-6, ¶ 29. In other words, it is “a

       form of judicial restraint.” Id. at ¶ 65 n.39 (quoting Peoples, 296 N.C. at 147, 250

       S.E.2d at 912). Our Supreme Court “consistently has refused to consider an appeal

       raising grave questions of constitutional law where . . . the cause of action had been
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       destroyed so that the questions become moot.” Hoke Cty. Bd. of Educ. v. State, 367

       N.C. 156, 159, 749 S.E.2d 451, 454 (2013) (internal quotations omitted). Specifically,

       when “the General Assembly revises a statute in a material and substantial manner,

       with the intent to get rid of a law of dubious constitutionality, the question of the act’s

       constitutionality becomes moot.” Id. at 159, 749 S.E.2d at 454 (internal quotations

       omitted).

¶ 15         There are, however, limited exceptions to the mootness doctrine. “Even if moot

       . . . this Court may, if it chooses, consider a question that involves a matter of public

       interest, is of general importance and deserves prompt resolution.” N.C. State Bar v.

       Randolph, 325 N.C. 699, 701, 386 S.E.2d 185, 186 (1989). In addition, a court may

       proceed under the “capable of repetition, yet evading review” exception. Calabria v.

       N.C. State Bd. of Elections, 198 N.C. App. 550, 555-56, 680 S.E.2d 738, 744 (2009).

                    Two elements are required for the capable of repetition, yet
                    evading review” exception to the mootness doctrine to
                    apply: (1) the challenged action [is] in its duration too short
                    to be fully litigated prior to its cessation or expiration, and
                    (2) there is a reasonable expectation that the same
                    complaining party would be subjected to the same action
                    again.

       Id. at 555-56, 680 S.E.2d at 744 (internal citations and quotations omitted).

¶ 16         Here, the original question in controversy, whether the judicial districts in

       Mecklenburg County were constitutional, was addressed when the General Assembly

       repealed that portion of the law and reverted to countywide elections in Mecklenburg
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       County. See S.L. 2020-84, § 2. Likewise, Plaintiffs’ request for dissolution of the

       judicial districts was also granted by the repeal. See id. Plaintiffs’ argument that

       declaratory relief should be granted to put the General Assembly on notice is

       unpersuasive considering precedent clearly states the actions taken by the General

       Assembly render discussion of the repealed law’s constitutionality moot. See Hoke,

       367 N.C. at 159, 749 S.E.2d at 454. Therefore, the three-judge panel properly found

       Plaintiffs’ claims to be moot.

¶ 17         Plaintiffs further contend that even if the claims are moot, this Court should

       reverse the three-judge panel’s order because their claims fall within the public

       interest and “capable of repetition, yet evading review” exceptions to the mootness

       doctrine.

¶ 18         First, Plaintiffs argue the public interest exception applies because voter laws

       are important to the North Carolina public and have been litigated several times in

       recent years. Plaintiffs primarily rely on the reasoning of Chavez v. McFadden, a

       case decided by the North Carolina Supreme Court where the Court held the public

       interest exception was applicable, in part, because immigration laws had “become the

       subject of much debate in North Carolina in recent years.” Chavez v. McFadden, 374

       N.C. 458, 468, 843 S.E.2d 139, 147 (2020). In Chavez, however, the parties all agreed

       the issue was moot by virtue of the petitioners’ transfer from state law enforcement

       to federal immigration custody enforcement. Id. at 468, 843 S.E.2d at 147. Although
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       no relief could be provided for either petitioner, the Court reasoned there was a dire

       public interest because the policies underlying the controversy were still in effect,

       more individuals would be subjected to the same conditions as petitioners, and

       immigration laws were a hotly discussed subject at the time. Id. at 468, 843 S.E.2d

       at 147. As such, the Court in Chavez held that, due to public interest, it would

       address the ongoing debate surrounding the policies. Id. at 468, 843 S.E.2d at 147.

¶ 19         Presently, however, there is no underlying controversy between Plaintiffs and

       Defendants and no risk of further claims arising as the law in question has been

       repealed. See S.L. 2020-84, § 2. See also Cape Fear River Watch v. N.C. Envtl, Mgmt.

       Comm’n, 368 N.C. 92, 100, 772 S.E.2d 445, 450. Moreover, even where there may be

       grave issues of constitutional concern, this Court will not except a case from the

       mootness doctrine solely to render an advisory opinion. See Hoke, 367 N.C. at 159,

       749 S.E.2d at 454. This is particularly the case where the General Assembly has

       acted to address those constitutional concerns.           Id. at 159, 749 S.E.2d at 454.

       Therefore, we decline to address Plaintiffs’ claims under the public interest exception.

¶ 20         Plaintiffs next argue the “capable of repetition, yet evading review” exception

       applies to their claims, despite conceding they may not “technically meet the

       standards” of this exception. In order to meet this exception, Plaintiffs must show

       the duration of litigation was too short to be fully litigated, and there is a reasonable

       expectation the same complaining party will be subjected to the same action again.
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       See Calabria, 198 N.C. App. at 555-56, 680 S.E.2d at 744. Here, regardless of the

       duration of litigation, there is no reasonable expectation the same complaining party

       will be subjected to the same action because the law has been repealed, and the

       judicial districts have been completely dissolved. See S.L. 2020-84, § 2; see also

       Calabria, 198 N.C. App. at 557, 680 S.E.2d at 745 (holding legislative changes to the

       underlying applicable law rendered the possibility of repetition outside of a

       reasonable expectation and found the “capable of repetition, yet evading review”

       exception inapplicable).    Although judicial districts exist in other jurisdictions,

       Plaintiffs are all located in Mecklenburg County, and Plaintiffs’ claims relate only to

       judicial districts in Mecklenburg County. Therefore, we find the “capable of

       repetition, yet evading review” exception to the mootness doctrine inapplicable.

¶ 21         The three-judge panel properly found Plaintiffs’ claims to be moot, as the

       General Assembly repealed the Mecklenburg County judicial districts. The three-

       judge panel also properly found no exception to the mootness doctrine. Therefore, we

       affirm the three-judge panel’s dismissal of Plaintiffs’ claims as moot.

                                         B. Attorney’s Fees

¶ 22         Defendants argue the three-judge panel erred when it awarded Plaintiffs

       attorney’s fees and costs associated with litigation because the three-judge panel

       lacked jurisdiction to enter the award or, alternatively, Plaintiffs were not entitled to

       attorney’s fees. We agree with Defendants’ contention the three-judge panel lacked
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       jurisdiction to enter the award. As such, we do not reach the issue of whether

       Plaintiffs would have been entitled to attorney’s fees had jurisdiction been proper.

¶ 23         North Carolina law provides, “any facial challenge to the validity of an act of

       the General Assembly shall be transferred pursuant to [N.C. Gen. Stat. §] 1A-1, Rule

       42(b)(4), to the Superior Court of Wake County and shall be heard and determined

       by a three-judge panel.” N.C. Gen. Stat. § 1-267.1(a)(1) (2019). Rule 42(b)(4) states

       in relevant part,

                    [p]ursuant to [N.C. Gen. Stat. §] 1-267.1, any facial
                    challenge to the validity of an act of the General Assembly
                    . . . shall be heard by a three-judge panel in the Superior
                    Court of Wake County . . . [t]he court in which the action
                    originated shall maintain jurisdiction over all matters
                    other than the challenge to the act’s facial validity.

       N.C. Gen. Stat. § 1A-1, Rule 42(b)(4) (2019).

¶ 24         Once the facial challenge is transferred,

                    [t]he original court shall stay all matters that are
                    contingent upon the outcome of the challenge to the act’s
                    facial validity pending a ruling on that challenge and until
                    all appeal rights are exhausted. Once the three-judge
                    panel has ruled and all appeal rights have been exhausted,
                    the matter shall be transferred or remanded to the three-
                    judge panel or the trial court in which the action originated
                    for resolution of any outstanding matters, as appropriate.

       Id.

¶ 25         “A facial challenge is an attack on a statute itself as opposed to a particular

       application.” Holdstock v. Duke Univ. Health Sys., 270 N.C. App. 267, 272, 841 S.E.2d
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       307, 311 (2020) (quoting City of Los Angeles v. Patel, 576 U.S. 409, 415, 192 L. Ed. 2d

       435, 443, 135 S. Ct. 2443 (2015)). Complaints alleging broad constitutional violations

       constitute facial challenges. Id. at 272, 841 S.E.2d at 311.

¶ 26         Here, the trial court, after granting the Governor’s motion and denying

       Defendants’ motions to dismiss, transferred the case to the three-judge panel because

       Plaintiffs’ complaint raised facial challenges to an act of the General Assembly. See

       N.C. Gen. Stat. §§ 1-267.1; 1A-1, Rule 42(b)(4) (2019). Upon transfer, the trial court

       stayed all matters contingent upon the facial challenge pending resolution by the

       three-judge panel and exhaustion of all appeals. See Holdstock, 270 N.C. App. at 272,

       841 S.E.2d at 311. See also N.C. Gen. Stat. §1A-1, Rule 42(b)(4) (2019). As such,

       when the trial court transferred the case to the three-judge panel, it transferred only

       the facial challenge to the validity of the law, which stayed any attorney’s fees issue

       until final resolution of the constitutional challenge. The issue of attorney’s fees and

       costs is contingent on the outcome of the three-judge panel and any available appeals.

       See Holdstock, 270 N.C. App. at 272, 841 S.E.2d at 311.

¶ 27         Because the trial court retained jurisdiction over the issue of attorney’s fees,

       the three-judge panel did not have the authority to award Plaintiffs attorney’s fees.

       See Holdstock, 270 N.C. App. at 272, 841 S.E.2d at 311. See also N.C. Gen. Stat. §

       1A-1, Rule 42(b)(4). Therefore, the three-judge panel erred in awarding Plaintiffs

       attorney’s fees. As such, we do not reach the issue of whether Plaintiffs would have
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       been entitled to attorney’s fees had jurisdiction been proper, and instead vacate the

       three-judge panel’s order awarding attorney’s fees and remand to the trial court for

       a determination of this issue.

                                           VI. Conclusion

¶ 28          We disagree with Plaintiffs’ argument the three-judge panel erred in finding

       their claims moot without exception. The underlying controversy, by act of the

       General Assembly, was resolved, and Plaintiffs effectively received the relief sought.

       We agree with Defendants’ argument the three-judge panel lacked jurisdiction to

       award attorney’s fees to Plaintiffs.       When the trial court transferred the facial

       challenge to the three-judge panel, it retained jurisdiction over the attorney’s fees

       pending final resolution of the facial challenge. Therefore, the three-judge panel was

       without jurisdiction to award attorney’s fees. We remand to the trial court to

       determine the issue of whether Plaintiffs are entitled to attorney’s fees. Should the

       trial court determine Plaintiffs are not entitled to attorney’s fees, it will issue an order

       consistent with that determination. Should the trial court determine Plaintiffs are

       entitled to attorney’s fees, it will also determine the amount of reasonable attorney’s

       fees Plaintiffs are entitled to recover.



              AFFIRMED IN PART, VACATED AND REMANDED IN PART.

              Judges COLLINS and HAMPSON concur.
